Case No. 1:21-cv-01382-GPG-NRN Document 97-4 filed 07/20/23 USDC Colorado pg 1 of
                                      7




                       EXHIBIT D
Case No. 1:21-cv-01382-GPG-NRN Document 97-4 filed 07/20/23 USDC Colorado pg 2 of
                                      7
   "EXHIBIT D" - 1


                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Case No.: 1:21-cv-01382-NYW

   ANDREW SCHOBER,
                  Plaintiff,
             v.
   BENEDICT THOMPSON, OLIVER READ,
   EDWARD J. THOMPSON, CLAIRE L.
   THOMPSON, PAUL READ, and HAZEL
   DAVINA WELLS,
                  Defendants.

   ______________________________________________________________________________

         BENEDICT THOMPSON’S SUPPLEMENTAL RESPONSES TO ANDREW
                SCHOBER’S FIRST SET OF DISCOVERY REQUESTS
   ______________________________________________________________________________
          COMES NOW Defendant Benedict Thompson, by and through his attorneys, Robinson
   Waters & O’Dorisio, P.C., and submits his Supplemental Responses to Plaintiff’s First Set of
   Discovery Requests to Defendant Benedict Thompson (“Discovery Requests”) pursuant to
   C.R.C.P. 33, 34, and 36 as follows:
                                    GENERAL OBJECTIONS
      1. These general objections apply to each of the individual Discovery Requests and failure
         to repeat any general objection in any specific response to any Discovery Request is not a
         waiver of such objection. Benedict Thompson incorporates these general objections by
         reference in response to each and every Discovery Request.

      2. These responses are made solely for purposes of this action. Each response is subject to
         all objections and grounds that would require the exclusion of any statement or response
         herein if made in court, and all of such objections and grounds are reserved and may be
         interposed at the time of trial or any other proceeding in this action.

      3. By responding to these Discovery Requests, Benedict Thompson does not waive any
         objection to the admissibility of the information contained in these responses and reserves
         the right to assert privilege claims to any privileged information or documents that may
         be produced inadvertently. Upon notification of such inadvertent production, the
         information, shall immediately be returned to the undersigned counsel.

      4. Benedict Thompson objects to these Discovery Requests to the extent that they call for
         the production of information that are not in his possession, custody or control, or is
Case No. 1:21-cv-01382-GPG-NRN Document 97-4 filed 07/20/23 USDC Colorado pg 3 of
                                      7
   "EXHIBIT D" - 2


         information and documents that are protected from disclosure under the work product
         doctrine or the attorney-client privilege or other privileges/protections afforded by
         common law. Benedict Thompson further objects to each Discovery Request that seeks
         information neither relevant to any party’s claims or defenses, nor reasonably calculated
         to lead to the discovery of admissible evidence.

      5. Benedict Thompson does not concede the relevance of any information being produced in
         response to any Discovery Request and expressly reserves all rights to object to the
         introduction in evidence of any responses on relevance or other grounds. Benedict
         Thompson reserves all objections to the admissibility of any produced documents or
         disclosed information, including, by way of example and not limitation, objections to
         authenticity, relevance, and materiality. In addition, Benedict Thompson reserves the
         rights to object to further discovery and to the subject matter of these Discovery
         Requests.

      6. Benedict Thompson objects to these Discovery Requests to the extent they lack
         specificity, are unduly burdensome, or overbroad (as to scope, time, or otherwise) or
         otherwise attempt to exceed the scope of discovery, amend, or add to the requirements as
         defined by the Federal Rules of Civil Procedure, the Federal Rules of Evidence, and any
         Local Rules of Court and/or any order of this Court.

      7. Benedict Thompson has made a good faith effort to respond to these Discovery Requests
         based upon the information and documents known at the present time. His investigation
         of the facts and available documents continues, and accordingly, and reserves the right to
         supplement these responses.

      8. Benedict Thompson objects to this discovery to the extent that it seeks information that
         Andrew Schober (“Schober”) already has in his possession, custody, or control over, or
         which is equally available to Schober through reasonable inquiry. Similarly, Benedict
         Thompson objects to this discovery as improperly duplicative and burdensome to the
         extent that it seeks information and documents previously produced.

      9. Benedict Thompson reserves the right to supplement his responses to reflect additional
         facts unearthed during discovery, and will do so if required by the Federal Rules of Civil
         Procedure.

      10. Benedict Thompson objects to the Definitions and Instructions to the extent they are not
          provided for or are not consistent with the applicable rules.

      11. Benedict Thompson objects to this discovery to the extent that it requests opinions other
          than facts, and to the extent that it calls for legal argument, conclusion, or
          characterization or documents or information currently available to Benedict Thompson.
Case No. 1:21-cv-01382-GPG-NRN Document 97-4 filed 07/20/23 USDC Colorado pg 4 of
                                      7
   "EXHIBIT D" - 3




                                  I.     INTERROGATORIES
   INTERROGATORY NO.1
   State ALL ALIASES YOU used during the time period between January 1, 2017 and the date of
   YOUR RESPONSE, indicating when AND for which purposes (i.e., which websites, forums,
   services, platforms, exchanges, wallets, applications) YOU used each ALIAS.
   RESPONSE:
              ALIAS                                                 Purpose
              05BTHOMPSON@GMAIL.COM                                 F1TV
              05.BTHOMPSON@GMAIL.COM                                F1TV
              05BTHOMPSON@GMAIL.COM                                 Pinterest
              05BTHOMPSON@GMAIL.COM                                 Ebay
              05BTHOMPSON                                           Universal Credit
              05BTHOMPSON@GMAIL.COM                                 ASOS
              BEANSUFC                                              Twitch
              05BTHOMPSON@GMAIL.COM                                 Trainline
              BENEDICT                                              Outlook
              THOMPSONTHOMPSON2001@OUTLOOK.COM
              BEN.THOMPSON@WARWICK.AC.UK                            University of Warwick
              05BTHOMPSON@GMAIL.COM                                 Ticketmaster
              05BTHOMPSON                                           Steam
              BEAN                                                  Steam
              BENEDICT THOMPSON3267                                 Snapchat
              05BTHOMPSON@GMAIL.COM                                 TFWN Swift Go
              THOMPSON.BENEDICT                                     PayPal
              THOMPSONJAMES@GMAIL.COM
              05BTHOMPSON@GMAIL.COM                                 National Express
              05BTHOMPSON@GMAIL.COM                                 Hotels.com
              05BTHOMPSON@GMAIL.COM                                 Sheffield United
              BEN                                                   Teamspeak
              BEAN_BTC                                              Reddit
              BENEDICT THOMPSONTHOMPSON                             Github
              BENEDICT THOMPSONUSHE                                 Twitter
              BEN_THOMPSON1024                                      Instagram
              THOMPSON.BENEDICT                                     LinkedIn
              THOMPSONJAMES@GMAIL.COM
              THOMPSON.BENEDICT                                     Coinbase
              THOMPSONJAMES@GMAIL.COM
              THOMPSON.BENEDICT                                     KuCoin
              THOMPSONJAMES@GMAIL.COM
Case No. 1:21-cv-01382-GPG-NRN Document 97-4 filed 07/20/23 USDC Colorado pg 5 of
                                      7
   "EXHIBIT D" - 4


              05BTHOMPSON@GMAIL.COM                                   Mercatox
              BEAN_                                                   TradingView
              05BTHOMPSON@GMAIL.COM                                   Bitfinex
              THOMPSON.BENEDICT                                       Bitfinex
              THOMPSONJAMES@GMAIL.COM
              05BTHOMPSON@GMAIL.COM                                   Bitgrail
              05BTHOMPSON@GMAIL.COM                                   Gmail
              THOMPSON.BENEDICT                                       Gmail
              THOMPSONJAMES@GMAIL.COM
              05BTHOMPSON@GMAIL.COM                                   Coinbase


   SUPPLEMENTAL RESPONSE:
   In addition to the listing above, Benedict Thompson did use the alias Dat Spaghetti, but not
   during the timeframe specified in this Interrogatory. Benedict Thompson also used the
   alias bean_. Benedict Thompson specifically denies using the aliases JamesandJohn,
   thp2pk, tcampbell, or Robert Marley.
   INTERROGATORY NO. 2
   IDENTIFY ANY exchanges, wallets, DEVICES, applications, platforms, websites, AND forms
   where AND in which YOU stored, held, AND maintained cryptocurrencies during the time
   period between January 1, 2017 and the date of YOUR RESPONSE.
   RESPONSE:
         Coinbase
         KuCoin
         Mercatox
         Bitfinex
         Bitgrail
         Electrum
         Jaxx
   SUPPLEMENTAL RESPONSE:
   In addition to the listing above, Benedict Thompson also used the Poloniex exchange
   during the relevant time period, and produces documents relative to Poloniex with this
   response. These documents were not previously located because they do not contain any of
   the keywords that were used to search for the electronic documents previously produced.
   As to the allegation that Shapeshift should be included on this list, Shapeshift is not an
   exchange, it merely allows a user to convert one form of cryptocurrency to another, it is not
   a platform on which cryptocurrency may be “stored, held or maintained” as recited in this
   Interrogatory.
Case No. 1:21-cv-01382-GPG-NRN Document 97-4 filed 07/20/23 USDC Colorado pg 6 of
                                      7
   "EXHIBIT D" - 5


   INTERROGATORY NO. 6
   State YOUR education AND employment history (beginning from when YOU were 13 years
   old, up to date of YOUR RESPONSE.
   RESPONSE:
         Education:
             o St. George Catholic College: 2012-2017
             o St. Annes Sixth Form College: 2017-2019
             o University of Warwick: 2019-2022
         Employment:
             o Benedict Thompson is currently unemployed and claiming Jobseekers
                Allowance.
   SUPPLEMENTAL RESPONSE:
   Benedict Thompson was employed in 2016 and 2017 doing freelance end user testing for
   which he was paid in cryptocurrency an amount equivalent to approximately £140.


                    II.    REQUESTS FOR PRODUCTION OF DOCUMENT


   REQUEST NO. 2
   ALL COMMUNICATIONS between YOU AND OLIVER READ during the time period
   between January 1, 2016 and the date of YOUR RESPONSE.
   RESPONSE: Benedict Thompson objects that the Request is overly broad, unduly
   burdensome, and not proportionate to the needs of the case because it calls for production
   of “all communications between [Benedict Thompson] and Oliver Read”, regardless of the
   subject of the communication.
   Subject to and without waiving the foregoing objections, Defendant states: Relevant, non-
   privileged documents, to the extent they exist, will be produced. See THOMPSON 000023-
   024.
   SUPPLEMENTAL RESPONSE:
   Benedict Thompson has no further documents to produce in response to this Request.
   Most of the communications that occurred between Benedict Thompson and Oliver Read
   in the relevant time period occurred over voice chat, and there are no documents that
   evidence these communications.
Case No. 1:21-cv-01382-GPG-NRN Document 97-4 filed 07/20/23 USDC Colorado pg 7 of
                                      7
   "EXHIBIT D" - 6


                                           CONCLUSION

           Defendant Benedict Thompson reserves the right to amend and supplement the responses
   herein as necessary.

   Respectfully submitted this Xth day of April 2023.

   ROBINSON WATERS & O’DORISIO, P.C.

   /s/Carl A. Hjort, III
   Carl A. Hjort, III, Esq.
   Attorneys for Defendant Benedict Thompson


                                   CERTIFICATE OF SERVICE

   I hereby certify that on this XXth day of April 2023, a true and correct copy of the foregoing was
   served via email to all counsel of record.

   /s/Carl A. Hjort, III
